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                      ,17+(81,7('67$7(6',675,&7&2857
                     )257+(1257+(51',675,&72),//,12,6
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